              Exhibit B




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              SUN
              STARTS
                         MON
                     20 21
                                   JUNE
                             22 23 24
                18 19 rly Discounts.
                             No Ea
                                     TUE
                                               WED




                       11% Rebate* and Sale Prices Good
                                                          THUR




                 Sunday, June 18 Through Saturday, June 24, 2017
                                                                       FRI
                                                                                  SAT
                                                                                  ENDS
                                                                                                                                                                                                          11                                           EVEN THESE GREAT
                                                                                                                                                                                                                                                      SALE PRICED ITEMS!
                                                                                                                                                                                                                                                                                                                        %
                                                                                                                                                                                                                                                                                                                                            EVERYDAY LOW PRICE $149.99
                                                                                                                                                                                                                                                                                                                                            SALE PRICE         $112.00
                                                                                                                                                                                                                                                                                                                                            11% REBATE*         $12.32

                                                                                                                                                                                                                                                                                                                                                               $
                                                                                                                                                                                                                                                                                                                                            FINAL
                                                                                                                                                                                                                                                                                                                                            PRICE
                                                                                                                                                                                                                                                                                                                                            Electric
                                                                                                                                                                                                                                                                                                                                                                    9968            each


                                                                                                                                                                                                                                                                                                                                            Pressure Washer
                                                                                                                                                                                                                                                                                                                                            1,650 PSI
                                                                                                                                                                                                                                                                                                                                            261-1600




                                                                                                                                                                                                                                                                                                                                            EVERYDAY LOW PRICE $99.00
                                                                                                                                                                                                                                                                                                                                            SALE PRICE         $78.00
                                                                                                                                                                                                                                                                                                                                            11% REBATE*         $8.58

                                                                                                                                                                                                                                                                                                                                                                $
        SALE PRICE
        11% REBATE*
                                                                         $2,239.00
                                                                          $246.29
                                                                                                            Wide Angled Corner Deck
                                                                                                                                                                                                                                                                                                                                            FINAL
                                                                                                                                                                                                                                                                                                                                            PRICE
                                                                                                                                                                                                                                                                                                                                            Impact Driver Kit
                                                                                                                                                                                                                                                                                                                                                                    6942            each

                                                                                                            16' x 22'
        FINAL $                                                                                                                                                                                                                                                                                                                             20-Volt Lithium-Ion
                                                                                   71
                                         1,992
                                                                                                            • Includes construction plans, hardware, concrete footings,
                                                                                                              pressure treated lumber and decking 196-0270                                                                                                                                                                                  • Includes 2.0Ah battery and
        PRICE**                                                                                                                                                                                                                                                                                                                               charger 241-0459
                                  Approximate price per material list




                                                                                                                                                                                                                                                                                                                                         EVERYDAY LOW PRICE                         $32.98
                                                                                                                                                                                                                                                                                                                                         SALE PRICE                                 $29.98
                                                                                                                                                                                                                                                                                                                                         11% REBATE*                                 $3.30

                                                                                                                                                                                                                                                                                                                                                                    $
                                                                                                                                                                                                                                                                                                                                         FINAL
                                                                                                                                                                                                                                                                                                                                         PRICE
                                                                                                                                                                                                                                                                                                                                         Wet Look Lacquer
                                                                                                                                                                                                                                                                                                                                                                        2668           gallon


                                                                                                                                                                                                                                                                                                                                         • Seals and protects concrete and masonry
                                                                                                                                                                                                                                                                                                          5-GALLON PAILS                 • Available in Low or High Gloss
                                                                                                                                                                                                                                                                                                          ALSO ON SALE!                    558-2445, 2446



                                                                                                                                                                                                                                                                                                                                         EVERYDAY LOW PRICE                         $14.99
                                                                                                                                                                                                                                                                                                                                         SALE PRICE                                  $9.99
                                                                                                                                                                                                                                                                                                                                         11% REBATE*                                 $1.10

                                                                                                                                                                                                                                                                                                                                         FINAL                             $ 89
                                                                                                                                                                                                                                                                                                                                         PRICE                                 8        each

        SALE PRICE
        11% REBATE*
                                                                                      $1,499.00
                                                                                        $164.89
                                                                                                                Flagstone Patio With Fire Ring                                                                                                                                                                                             LED Solar Light Alton
                                                                                                                • Dimensions 19'W x 3'8"H x 25'D                                                                                                                                                                                         • Stainless Steel Finish with
                                                  $
        FINAL
                                                       1,33411
                                                                                                                • Includes Tumbled Belgian retaining wall blocks, Tumbled Belgian pavers,                                                                                                                                                  Clear Ribbed Lens

        PRICE**
                                                                                                                  Tumbled Belgian wedge retaining wall blocks, Flagstone pavers, ﬁre
                                                                                                                  bricks (inside liner), refractory mortar, and adhesive 198-0055
                                                                                                                                                                                                                                                                                                                 6-PACK                  • 12"H 343-9044
                                                                                                                All dimensions are approximate. Must be placed on a solid, level base (sold separately).
                                           Approximate price per material list                                  Plans available upon request.




                                                                                                                                                                                                                                                                                                                                         EVERYDAY LOW PRICE                       $205.00
                                                                                                                                                                                                                                                                                                                                         SALE PRICE                               $179.00
                                                                                                                                                                                                                                                                                                                                         11% REBATE*                               $19.69

                                                                                                                                                                                                                                                                                                                                                              $
                                                                                                                                                                                                                                                                                                                                         FINAL
                                                                                                                                                                                                                                                                                                                                         PRICE
                                                                                                                                                                                                                                                                                                                                         Prehung Steel Entry
                                                                                                                                                                                                                                                                                                                                                                  15931                 each


                                                                                                                                                                                                                                                                                                                                         Door Half-Lite
                                                                                                                                                                                                                                                                                                                                         • Insulated glass
                                                                                                                                                                                                                                                                                                                                         • Primed door, brickmould
                                                                                                                                                                                                                                                                                                                                           and 4-9/16" frame
                                                                                                                                                                                                                                                                                                                                         • Brass Finish Hinges • Aluminum Sill
                                                                                                                                                                                                                                                                                                                                         • Choose from left or right swing
                                                                                                                                                                                                                                                                                                                                         • 32" or 36"W x 80"H 414-1286-1291
                                                                                                                                                                                                                                                                                                                                         Special order at some locations in approximately
                                                                                                                                                                                                                                                                                                                                         1 week. Nominal size.

                                                                                                                                                                                                                                                                                                                                         EVERYDAY LOW PRICE                         $69.00
                                                                                                                                                                                                                                                                                                                                         SALE PRICE                                 $59.00
                                                                                                                                                                                                                                                                                                                                         11% REBATE*                                 $6.49

                                                                                                                                                                                                                                                                                                                                                                    $
        SALE PRICE
        11% REBATE*
                                                                                     $6,279.00 Two Car Garage 24'W x 24'L x 8'H
                                                                                      $690.69 • One 16' x 7' overhead door • One prehung entry door
                                                                                                                                                                                                                                                                                                                                         FINAL
                                                                                                                                                                                                                                                                                                                                         PRICE
                                                                                                                                                                                                                                                                                                                                         Single Hung Window
                                                                                                                                                                                                                                                                                                                                                                        5251            each


        FINAL                                 $                                                 31              • One window • 30-year shingles

        PRICE**                                     5,588
                                          Approximate price per material list
                                                                                                                • Double 4" vinyl siding
                                                                                                                • 12" overhang on the gable ends and 24" on the eaves
                                                                                                                • Aluminum Sofﬁt and Fascia 195-0285                                                                                                                                                                     NORTHVIEW
                                                                                                                                                                                                                                                                                                                                         With Nailing Flange
                                                                                                                                                                                                                                                                                                                                         • 5/8" insulated glass
                                                                                                                                                                                                                                                                                                                                         • Fits 24"W x 36"H rough
                                                                                                                                                                                                                                                                                                                                           opening 403-1000
                                                                                                                                                                                                                                                                                                                          WINDOWS

                                                                                                                                                                                                                                                                                                                                             EVERYDAY LOW PRICE                    $638.00
                                                                                                                                                                                                                                                                                                                                             SALE PRICE                            $568.00
                                                                                                                                                                                                                                                                                                                                             11% REBATE*                            $62.48

                                                                                                                                                                                                                                                                                                                                             FINAL $
                                                                                                                                                                                                                                                                                                                                             PRICE
                                                                                                                                                                                                                                                                                                                                             Linear™ Soaking
                                                                                                                                                                                                                                                                                                                                                                  50552                     each


                                                                                                                                                                                                                                                                                                                                             Tub/Shower
                                                                                                                                                                                                                                                                                                                                             • Complete three-piece wall
                                                                                                                                                                                                                                                                                                                                               set and bathtub
                                                                                                                                                                                                                                                                                                                                             • Installs direct to studs with
                                                                                                                                                                                                                                                                                                                                               100% caulk-free installation
                                                                                                                                                                                                                                                                                                                                             • Available in left or right drain
                                                                                                                                                                                                                                                                                                                                             • 60"W x 32"D x 78"H
                                                                                                                                                                                                                                                                                                                                             • White 695-4436, 4437
                                                                                                                                                                                                                                                                                                                                             Special order at some locations in approximately
                                                                                                                                                                                                                                                                                                                                             2 weeks. Faucet sold separately.
                                                                                                                                                                                                                                                                                                                          ¢
                                                                                                                                                                                                                                                                                                         That's Only 98     sq. ft.
                                                                                                                                                                                                                                                                                                         After Sale Price & Rebate*         EVERYDAY LOW PRICE                    $27.55
                                                                                                                                                                                                                                                                                                                                            SALE PRICE                            $23.28
                                                                                                                                                                                                                                                                                                                                            11% REBATE*                            $2.56
       SALE PRICE                                                                   $97,083.00                  Beechwood Home
                                                                                                                                                                                                                                                                                                                                                                  $
                                                                                                                                                                                                                                                                                                                                            FINAL
                                                                                                                                                                                                                                                                                                                                                                       2072
       11% REBATE*                                                                  $10,679.13
                                                                                                                • Material lists include framing, rooﬁng and siding materials; doors, windows,
       FINAL $                                                                                                    trim and cabinets; plumbing and ﬁxtures; lights, electrical and ﬂooring
                                                                                                                                                                                                                                                                                                                                            PRICE
       PRICE**                            86,40387
                                        Approximate price per material lists
                                                                                                                • 2 x 6 framing upgrade included
                                                                                                                • 49'W x 53'D • Three bedrooms • Two baths • Three car garage
                                                                                                                • Plan features a basement foundation • Metal beams by others
                                                                                                                                                                                                                                                                                                                                            • Quick and easy click installation
                                                                                                                                                                                                                                                                                                                                                                               each

                                                                                                                                                                                                                                                                                                                                            • 25-year limited residential warranty
                                                                                                                                                                                                                                                                                                                                            • Matching trim available
                                                                                                                • 1,774 sq. ft. 194-2230, 395-5100, 5101, 491-2000, 695-1700, 1701, 795-1700
                                                                                                                                                                                                                                                                                                     Bravado                                • Oak Suede or Pine
                                                                                                                                                                                                                                                                                                                                              Caramel 740-3401, 3403
    ** These prices are approximate. Actual price may vary slightly higher or lower due to pricing changes after publication date. Stop in and review the speciﬁcations. You may buy all the materials or any part at low cash and carry prices. Some items may be special order or not available.
                                                                                                                                                                                                                                                                                                     Laminate Flooring
    Because of code variances, we cannot guarantee the materials listed will meet your code requirements. These are suggested designs and material lists only. We do not guarantee the completeness or prices. Labor, concrete ﬂoor/foundation, steel beams, paint, cabinets, Finish ﬂooring,
    electrical, HVAC, plumbing and delivery not included unless otherwise indicated. Some special order trusses must be jobsite delivered. Delivery is extra.                                                                                                                                        Sold in packages of 21.36 sq. ft.

                                   Mail-in Rebate. Rebate is in form of merchandise credit check, valid in-store only. Merchandise credit check is not valid towards purchases made on MENARDS.COM®. Limited to
                                   stock on hand. No sorry slips. First come, ﬁrst served. Future sale price adjustments, exchanges and merchandise returns will void the 11% rebate on the items adjusted, exchanged
                                   and/or returned. Rebate is valid on special ordered products but does not extend to the special ordering of any normally stocked items. Not good with any other coupons or offers
                                   except Menards® coupons, Menards rebates and manufacturers’ coupons. Multiple receipts may accompany one rebate certiﬁcate. Menards reserves the right to limit purchases of
                                   any and all items to reasonable job lot quantities.


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                                   Excludes event tickets, gift cards, propane purchases, delivery and handling charges, all rental items, minuteKEY®, processing fees, packaging charges and extended service agreements.




    MMKT2
    M2BCY_BAYC_CHST_CLIO_DAVI_HRON_LVNA_MTPT_SAGI_WIXM_WRNM,M2LNS_ANAR_JACK_LANS_LANW,M2TRV_TRVC,M5GDN_GRDN,M5KNS_BLTN_INDP_KNCN_LAWR_MANH_OLTH_SALI_TOPE_WCHE_WCHW,M5QCY_QNCY,M5STJ_COLM_HLST_JEFC_OZRK_SEDA_
    STJO,M6FTW_ANGO_FTWE_FTWS_FTWW_WARS,MMKT2_BATT_BGRP_COMS_HOLL_IONI_KALA_KZOE_MUSK_SHVN_THRV_WYOM,MMKT6_ANDE_AVON_BLOM_CAMY_CARM_COLB_EVAN_FISH_GRWD_INDE_ISOU_JFSV_KOKO_LAFS_LEBN_MUNC_OWEN_PRIN_TERR_WLAF
                              GET THESE SALE PRICES PLUS AN 11% REBATE*
    DESIGN YOUR PROJECT AROUND
    OUR IN-STOCK TRUSSES & DON'T
                                                                                                                                                                                                                                        POST         FRAME BUILDINGS INCLUDE:
                                                                                                                                                                                                                                        s